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CLERK DF DISTRICT COURT
IN THE UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF IOWA
FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA, ) Criminal No. 1:21-CR-00059
)
v. ) INDICTMENT
)
ANTHONY DAVID MARTINEZ, JR., ) T. 18, U.S.C. § 922(g)(1)
) T. 18, U.S.C. §§ 924(a)(2), (d)
Defendant. ) T. 28, U.S.C. § 2461 (c)
THE GRAND JURY CHARGES:
COUNT 1

(Prohibited Person in Possession of a Firearm)

On or about December 10, 2021, in the Southern District of Iowa, the Defendant,
ANTHONY DAVID MARTINEZ, JR., in and affecting commerce, knowingly possessed a firearm
and ammunition, namely: a loaded Smith & Wesson SD 40, .40 caliber pistol (serial # FDR9872)
and ammunition. At the time of the offense, the defendant knew he had been convicted of a crime
punishable by imprisonment for a term exceeding one year.

This is a violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

THE GRAND JURY FINDS:
Notice of Forfeiture
Upon conviction for the offense alleged in Count 1 of this Indictment, the defendant shall
forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d), and Title 28,
United States Code, Section 2461(c), all firearms, magazines, and ammunition involved in the

commission of said offense, including, but not limited to, the Smith & Wesson SD 40, .40 caliber
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pistol (serial # FDR9872) and ammunition, including the .40 caliber rounds, identified in Count 1
of this Indictment.
This is pursuant to Title 18, United States Code, Section 924(d) and Title 28, United States

Code, Section 2461(c).
A TRUE BILL.

FOREPERSON

Richard D. Westphal
United States Attorney

Michael B. Duffy ne
Assistant United States Attorney

 
